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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 18-22585-CIV-ALTONAGA/Goodman

  TRAVELERS INDEMNITY COMPANY and
  THE PHOENIX INSURANCE COMPANY,

         Plaintiffs,
  v.

  FIGG BRIDGE ENGINEERS, INC., et al.,

        Defendants.
  _________________________________________/

                                             ORDER

         THIS CAUSE came before the Court on Defendants’ Renewed Joint Motion to Dismiss

  the Second Amended Complaint and Amended Complaint [ECF No. 83], filed December 26,

  2018, as well as the Notices [ECF Nos. 90 & 91], filed January 17, 2019 and January 18, 2019

  respectively.   Upon consideration, the Court finds a hearing appropriate in this matter.

  Accordingly, it is

         ORDERED that the Motion [ECF No. 83] is set for hearing on January 24, 2019 at

  4:00 p.m. in Courtroom 12-2. In consideration of this Order, the deadlines in the Order Setting

  Trial [ECF No. 56] are SET ASIDE, including the deadline for filling pre-trial and dispositive

  motions.

         DONE AND ORDERED in Miami, Florida, this 18th day of January, 2019.



                                                        _________________________________
                                                        CECILIA M. ALTONAGA
                                                        UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
